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                               IN UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No.: ______


  Robert Lindsay,

             Plaintiff,

  Foster and Monroe, LLC,

             Defendant.


                                               COMPLAINT


          For this Complaint, the Plaintiff, Robert Lindsay, by undersigned counsel, states as

  follows:

                                             JURISDICTION

          1.        This action arises out of Defendant’s repeated violations of the Fair Debt

  Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) in its illegal efforts to collect a

  consumer debt.

          2.        Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

          3.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

  Defendant transacts business in this District and a substantial portion of the acts giving rise to

  this action occurred in this District.

                                                 PARTIES

          4.        Plaintiff, Robert Lindsay (“Plaintiff”), is an adult individual residing in Thornton,

  Colorado, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

          5.        Defendant Foster and Monroe, LLC (“Foster”), is a New York business entity

  with an address of 3770 Transit Road, Orchard Park, New York 14172, operating as a collection
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  agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

                       ALLEGATIONS APPLICABLE TO ALL COUNTS

     A. The Debt

         6.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

  creditor (the “Creditor”).

         7.      The Debt arose from services provided by the Creditor which were primarily for

  family, personal or household purposes and which meets the definition of a “debt” under 15

  U.S.C. § 1692a(5).

         8.      The Debt was purchased, assigned or transferred to Foster for collection, or Foster

  was employed by the Creditor to collect the Debt.

         9.      The Defendant attempted to collect the Debt and, as such, engaged in

  “communications” as defined in 15 U.S.C. § 1692a(2).

     B. Foster Engages in Harassment and Abusive Tactics

         10.     On or around July 19, 2021, Foster sent a text message to Plaintiff’s aunt in an

  attempt to collect the Debt from Plaintiff.

         11.     The text message stated:




         12.     Plaintiff’s aunt is not responsible for repayment of the Debt.

         13.     Plaintiff did not provide Foster or the original creditor with his aunt’s phone

  number.

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            14.   Plaintiff did not give Foster consent to communicate with his aunt regarding the

  Debt.

            15.   The disclosure of the Debt to Plaintiff’s aunt caused Plaintiff a great deal of

  embarrassment and humiliation.

     C. Plaintiff Suffered Actual Damages

            16.   The Plaintiff has suffered and continues to suffer actual damages as a result of the

  Defendant’s unlawful conduct.

            17.   As a direct consequence of the Defendant’s acts, practices and conduct, the

  Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

  fear, frustration and embarrassment.

                                COUNT I
   VIOLATIONS OF THE FEDERAL FAIR DEBTCOLLECTION PRACTICES ACT - 15
                           U.S.C. § 1692, et seq.

            18.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint

  as though fully stated herein.

            19.   The Defendant’s conduct violated 15 U.S.C. § 1692b(1) in that Defendant

  contacted third parties and failed to state it is confirming or correcting location information.

            20.   The Defendant’s conduct violated 15 U.S.C. § 1692b(1) in that Defendant

  contacted third parties for purposes other than to confirm or correct location information.

            21.   The Defendant’s conduct violated 15 U.S.C. § 1692b(2) in that Defendant

  informed third parties of the nature of Plaintiff’s debt and stated that the Plaintiff owed a debt.

            22.   The Defendant’s conduct violated 15 U.S.C. § 1692c(b) in that Defendant

  communicated with individuals other than the Plaintiff, the Plaintiff’s attorney, or a credit

  bureau.

            23.   The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged
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  in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

  connection with the collection of a debt.

         24.     The Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

  deceptive, or misleading representation or means in connection with the collection of a debt.

         25.     The Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant

  employed false and deceptive means to collect a debt.

         26.     The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

  unfair and unconscionable means to collect a debt.

         27.     The foregoing acts and omissions of the Defendant constitute numerous and

  multiple violations of the FDCPA, including every one of the above-cited provisions.

         28.     The Plaintiff is entitled to damages as a result of Defendant’s violations.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays that judgment be awarded in his favor and

  against the Defendant as follows:

                 1.   Against the named Defendant, jointly and severally, awarding Plaintiff actual

                      damages pursuant to 15 U.S.C. § 1692k(a)(1);

                 2. Against each of the named Defendant, awarding Plaintiff statutory damages of

                      $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                 3. Against the named Defendant, jointly and severally, awarding Plaintiff recovery

                      of his litigation costs of litigation and reasonable attorney’s fees pursuant to 15

                      U.S.C. § 1692k(a)(3);

                 4. Granting Plaintiff such other and further relief as may be just and proper.

                        TRIAL BY JURY DEMANDED ON ALL COUNTS



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  Dated: October 20, 2021

                                          Respectfully submitted,

                                          By /s/ Sergei Lemberg

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